UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION

 

CIVIL COMPLAINT

 

CASE No.@§[ _§,»)@(U \_CU` 3 _\TLE

RICHARD RAMBAHAL,
PAUL H. KOFTON, JOSEPH J. BARRY,

)

UNITED STATES SECURITIES AND )
EXCHANGE COMMISSION, )
)

)

Plaintiff, )

)

V. )

)

)

)

 

ANI) MICHAEL LESNIEWSKI )
)
)
Defendants. )
)
COMPLAINT

Plaintiff, United States Securities and Exchange Commission (“Commission”),

alleges the following y
NATURE OF THE COMPLAINT

l. ".l`his action involves three separate fraudulent financial schemes carried
out between July 1996 and February 2002 by Richard Rambahal (“Rambahal”), Paul H.
Kofton (“Kol`ton”), Joseph J. Barry (“J. Barry”) and Michael Lesniewski (“Lesniewski”)
(colll:ctively “"DeFendants”), employees at three subsidiaries of DT Industries
ha¢.;:or'j;;=<;)z";lte,tl (“DTI”). During, various times between July 1996 and February 2002, the

Defcn¢;laz'z!s tr'a\‘zdulently failed to report millions of dollars of costs at each of their

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subsidiaries in order to reach projected earnings targets and hide true costs in other
accounts by creating false documents By understating costs these Defendants caused
DTI to overstate its consolidated net income by a total of approximately $18 million in its
quarterly and annual reports for fiscal years 1997 through the third quarter of fiscal year
2002 that Were reported to the investing public and filed With the Commission. The
Defendants directly and indirectly have engaged, and unless enjoined, Will continue to
engage in transactions, acts, practices and courses of business Which constitute violations
of Sections 10(b) and 13(b)(5) of the Securities Exchange Act of 1934 [15 U.S.C.
§§78j(b), 78m(b)(5)] and Rules 10b-5 and 13b2-1 thereunder [17 CFR §§ 240.10b-5,
240.13b2-1] and aiding and abetting violations of Sections 13(a), 13(b)(2)(A) and
13(b)(2)(B) of the Exchange Act [15 U.S.C. §§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)]
and Rules 12b-20, 13a-1 and 13a-13 [17 CFR §§ 240.12b-20, 240.13a-1 and 240.13a-13]
thereunder.

2. Accordingly, the Commission seeks: (a) entry of a permanent injunction
prohibiting the Defendants from further violations of the relevant provisions of the
federal securities laws; (b) disgorgement, plus prejudgment interest thereon, of the annual
bonuses received by Rambahal, Kofton and Lesniewski during the time they committed
the frauds alleged herein; and (c) the imposition of civil money penalties against Kofton,
J. Barry and Lesniewski due to the egregious nature of their violations

JURISDICTION AND VENUE

3. The Court has jurisdiction over this action pursuant to Sections 21(e) and
27 ofthe Exchange Act [15 U.S.C. §§78u and 78aa] and 28 U.S.C. §1331. Venue is
proper in this Court pursuant to Section 27 of the EXchange Act [15 U.S.C. §78aa].

4. In connection With the transactions, acts, practices and courses of business
alleged in this Complaint, each of the Defendants, directly or indirectly, has made use of

the means or instrumentalities of interstate commerce and of the mails
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5. The transactions acts, practices and courses of business constituting the
violations herein have occurred within the jurisdiction of the United States District Court
for the Westem District of Missouri and elsewhere

DEFENDANTS

6. Defendant Rambahal, age 59, is a citizen of Guyana and resides in
Quebec, Canada. At all relevant times Rambahal was the controller of Kalish, Inc.
(“Kalish”), a subsidiary of DTI. Among other things, Rambahal was responsible for all
accounting functions of Kalish including creating the monthly financial reporting
packages Kalish submitted to DTI for DTl’s use in preparing its consolidated financial
statements

7. Defendant Kofton, age 57, resides in Plymouth, Massachusetts. At all
relevant times Kofton was the controller of Sencorp System, lnc. (“Sencorp”), a
subsidiary of DTI. Among other things, Kofton was responsible for all accounting
functions of Sencorp including creating the monthly financial reporting packages Sencorp
submitted to DTI for DTI’s use in preparing its consolidated financial statements

8. Defendant J. Barry, age 54, resides in Fall River, Massachusetts. At all
relevant times J. Barry was the cost accountant of Sencorp. J. Barry reported directly to
Kofton and, among other things, was responsible for identifying the costs associated with
Sencorp’s revenue

9. Defendant Lesniewski, age 42, resides in Erie, Pennsylvania. At all
relevant times Lesniewski was the controller of Assembly Machines Inc. (“AMI”), a
subsidiary of DTI. From January 2000 to January 2003, he was also the general manager
of AMI. At all relevant times, Lesniewski was responsible for all of AMl’s accounting
functions including creating the monthly financial reporting packages AMI submitted to
DTI for DTI’s use in preparing its consolidated financial statements As AMI’s general

manager Lesniewski was also responsible for overseeing all functions of the subsidiary
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DT INDUSTRIES, INC.

10. DT Industries, Inc. is a Delaware corporation Until 2001, DTI’s
headquarters were located in Springfield, Missouri. 1n 2001, DTI moved its headquarters
to Dayton, Ohio. DTI is a designer and manufacturer of automated production systems
used to package, test and manufacture a variety of industrial and consumer products
DTl’s stock is registered with the Commission pursuant to Section 12(g) of the EXchange
Act [15 U.S.C. §781(g)] and is listed on the NASDAQ National Market. At all relevant
times, DTI consisted of several subsidiaries including Kalish, Sencorp and Al\/II.

1 1. During the relevant time period, Kalish, headquartered in Montreal,
Canada, was a DTl subsidiary which designed and manufactured liquid filling and tablet
packaging systems

12. During the relevant time period, Sencorp, headquartered in Hyannis,
Massachusetts was a DTI subsidiary which designed and manufactured plastics
processing equipment and packaging equipment and systems

13. During the relevant time period, AMI, headquartered in Erie,
Pennsylvania, was a DTI subsidiary which designed and manufactured high-speed
assembly systems

IMPROPER ACCOUNTING ENTRIES

A. Rambahal’s Improper Accounting Entries at Kalish

14. From July 1996 through June 2000, at Kalish, Ranibahal knowingly or
recklessly failed to properly recognize costs associated with various projects in order to
reach Kalish’s projected earnings

15. At the end of every month, as part of his reporting requirements to DTI,
Rambahal reported, among Other things, the gross profit margins that Kalish generated
Gross profit margin is used to calculate net income.

16. Gross profit margin is calculated by subtracting the actual cost of
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producing goods sold, called production costs, from the revenue generated by the sales

17. Kalish, however, did not have a formal cost accounting system that
calculated the actual production costs Rambahal, therefore, estimated the production
costs to calculate Kalish’s gross profit margins that he reported to DTI on a monthly
basis

18. At the end of a fiscal year, to determine Kalish’s actual production costs
Rambahal conducted an inventory count. Rambahal was then supposed to adjust the
year-end gross profit margin based on the actual production costs This adjustment
would have caused DTl’s annual report to accurately reflect Kalish’s net income because
it would have been based on actual gross profit margins for the year.

19. Rambahal, however, did not adjust the year-end profit margin to reflect
actual production costs Instead he reported the estimated costs in order for Kalish to
reach projected earnings targets By reporting the estimated costs instead of the actual
costs (“unrecorded production costs”), he artificially increased the net income that Kalish
reported to DTI for inclusion in its consolidated financial statements

20. To avoid detection of his scheme, Rambahal hid the unrecorded
production costs in various balance sheet accounts that DTI consolidated into its financial
statements As the unrecorded production costs increased, Rambahal moved them around
among various asset accounts in a type of “shell game” to keep them hidden as long as
possible Rambahal falsely adjusted various accounts on Kalish’s books and records to
hide the unrecorded production costs This resulted in years of misstatements in those
accounts and contributed to years of misstatements in DTI’s books and records

21. For some of these false accounting entries, Rambahal created false
supporting documentation that concealed the fraud from DTI and DTI’s auditors

22. Rambahal’s misstatements caused DTI’s annual and quarterly reports for

fiscal years 1997, 1998, 1999 and its quarterly reports for fiscal year 2000 to be
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materially inaccurate

23. As a result of Rambahal’s fraud, for fiscal year 1997, DTl’s annual report
overstated DTI’s net income by $1.6 million or 6%. F or fiscal year 1998, as a result of
Rambahal’s fraud, DTl’s annual report overstated its net income by $4.0 million or 13%.
For fiscal year 1999, as a result of Rambahal’s fraud, DTI’s annual report understated
DTl’s net loss by $3.4 million or 191%. For the first quarter of fiscal year 2000, as a
result of Rambahal’s fraud, DTl’s quarterly report understated its net loss by $720,000 or
213%. For the second quarter of fiscal year 2000, as a result of Rambahal’s fraud, DTI’s
quarterly report overstated its net income by $1.3 million or 144%. For the third quarter
of fiscal year 2000, as a result of Rambahal’s fraud, DTI’s quarterly report overstated its
net income by $1.8 million or 65%.

24. As a result of his misconduct Rambahal received approximately $19,400
in annual bonuses which were based on, among other factors, DTI’s overstated financial
results

25. ln October of 2000, DTI terminated Rambahal because of his conduct
described in this Complaint.

B. Kofton and J. Barry’s Improper Accounting Entries at Sencorp

26. From July 1999 through June 2000, Kofton, J. Ban‘y and the general
ledger accountant at Sencorp, in order to reach projected earnings, knowingly or
recklessly failed to properly recognize costs associated with various projects and
recorded improper accounting entries that inflated Sencorp’s gross profits The false
gross profits were then consolidated into DTl’s financial statements

27. Although Sencorp implemented an automated operating system to track
actual production costs for its manufacturing proj ects, the automated operating system
did not record production costs accurately Rather than thoroughly address and correct

the automated operating system’s problems, Kofton ignored the incorrect production
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costs generated by the automated operating system.

28. Instead, Kofton directed J. Barry to manually reduce the production costs
in Sencorp’s general ledger in order for Sencorp to reach projected earnings targets

29. To avoid detection of this scheme, Kofton attempted to conceal the
unrecognized production costs Kofton first hired an outside consultant to create a
computer program that artificially added costs to unfinished projects Sencorp’s project
management personnel, however, immediately questioned this sudden increase in costs
associated with their projects As a result, Kofton was forced to reverse the program to
avoid his scheme from being uncovered

30. Next, Kofton instructed J. Barry and the general ledger accountant to
create and enter fictitious work orders into Sencorp’s automated operating system. This
resulted in the creation of approximately 48 fictitious work orders valued at
approximately 34 million with no links to any actual projects These fictitious work
orders had the effect of concealing the production costs that Kofton failed to report and
allowed the scheme to continue undetected

31. Kofton, J. Barry and the general ledger accountant’s scheme resulted in an
understatement of Sencorp’s costs of sales which resulted in, during various periods,
material overstatements of the net income and understatements of the net loss that
Sencorp reported to DTI for inclusion in DTI’s quarterly reports for fiscal year 2000,

32. As a result of Kofton’s and J. Barry’s fraud, for the first quarter of fiscal
year 2000, DTl’s quarterly report understated DTI’s net loss by $l million or 311%. As a
result of Kofton and J. Barry’s fraud, for the second quarter of 2000, DTI’s quarterly
report overstated DTI’s net income by $412,000 or 47%. As a result of Kofton and J.
Barry’s fraud, for the third quarter of 2000, DTI’s quarterly report overstated DTI’s net
income by $244,000 or 9%.

33. As a result of his misconduct, Kofton received approximately $9,600 in
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annual bonuses which were based on, among other factors, DTI’s overstated financial
results

34. In October 2000, DTI terminated Kofton because of his conduct described
in this Complaint.

C. Lesniewski’s Improper Accounting Entries at AMI

35. F rom July 1998 through February 2002, Lesniewski, AMI’s controller,
knowingly or recklessly failed to properly recognize costs associated with various
projects in order to reach AMI’s projected eamings.

36. F or this time period, Lesniewski was responsible for all of AMI’s
accounting functions, including creating the monthly financial reporting packages AMI
submitted to DTI for DTI’s use in preparing its consolidated financial statements

37. F or nearly four years, Lesniewski manipulated AMI’s books and records
in order for AMI to reach projected earnings targets

38. Lesniewski understated AMI’s cost of sales by failing to recognize all of
AMI’s actual production costs for certain projects By not recognizing the actual
production costs for these projects, Lesniewski artificially increased AMI’s profit margin
As a result, he reported materially misstated net income and net loss figures for inclusion
in DTl’s consolidated financial statements

39. Lesniewski hid these unrecognized production costs in an asset account
which was comprised of various sub-accounts The sub-accounts were supposed to
reflect, among other things, labor and parts costs associated with projects that were in the
process of being built and payments received from customers and invoices sent out to
customers for ongoing projects

40. T he actual sub-account figures were reported to Lesniewski which he, in
tui'ri, was supposed to use in reporting AMI’s books and records to DTI. However,

Lesniewski ignored the actual numbers and instead used artificial numbers which allowed
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him to hide the costs of sales that he understated

41. The effect of Lesniewski’s improper entries on AMI’s books was to
understate cost of sales thereby resulting in both material overstatements of DTI’s
consolidated net income and material understatements of DTI’s consolidated net losses in
various periods in its quarterly and annual reports for fiscal years 1999, 2000 and 2001
and its quarterly reports for fiscal year 2002.

42. As a result of Lesniewski’s fraud, for fiscal year 1999, DTI’s annual report
understated its net loss by $1.4 million or 27%. As a result of Lesniewski’s fraud, for
fiscal year 2000, DTI’s annual report understated its net loss by $863,000 or 18%. As a
result of Lesniewski’s fraud, for fiscal year 2001, DTI’s annual report understated its net
loss by $1.7 million or 2.4%. As a result of Lesniewski’s fraud, for the first quarter of
fiscal year 2002, DTl’s quarterly report overstated its net income by $250,000 or 29%.
As a result of Lesniewski’s fraud, for the second quarter of fiscal year 2002, DTI’s
quarterly report understated its net sales by $560,000 and overstated its net loss by
$200,000 or 18%. As a result of Lesniewski’s fraud, for the third quarter of fiscal year
2002, DTI’s quarterly report understated its net loss by $142,000 or 1%.

43. As a result of his misconduct Lesniewski received approximately $45,800
in annual bonuses which were based on, among other factors, DTI’s overstated financial
results

44. Lesniewski resigned from DTI before the accounting irregularities at AMI
were uncovered

D. Effect on DTI’s C0nsolidated Financial Statements

45. As a result of the Defendants’ fraudulent schemes, DTI twice restated its
financial statements, first in October 2000 and again in August 2002.

46. The first restatement was required after Rambahal’s scheme at Kalish and

Kofton’s, J. Barry’s and the general ledger accountant’s scheme at Sencorp were
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discovered Their combined fraudulent conduct caused DTI to overstate its net income
and understate its net losses for fiscal years 1997, 1998 and 1999 and for the first three
quarters of fiscal year 2000. For fiscal year 1997, the annual report contained an
overstatement of net income by $1.6 million or 6%, and an overstatement in diluted
earnings per share by $0.15. For fiscal year 1998, the annual report contained an
overstatement of net income by $4.0 million or 13%, and an overstatement in diluted
earnings per share by $0.30. F or fiscal year 1999, the annual report contained an
understatement of net loss by $3.4 million or 191%, and an understatement in diluted net
loss per share by $0.34. F or the first quarter of fiscal year 2000, the quarterly report
contained an understatement of net loss by $l .8 million or 532%, and an understatement
in diluted net loss per share by 80.18. For the second quarter, the quarterly report
contained an overstatement of net income by $1.7 million or 201%, and an overstatement
in diluted earnings per share by $0.18. For the third quarter the quarterly report
contained an overstatement of net income by $l .6 million or 60%, and an overstatement
in diluted earnings per share by $0.16. Following the announcement of the restatement,
DTl’s share price dropped 57%.

47. The second restatement was the result of Lesniewski’s scheme at AMI.
Lesniewski’s fraudulent conduct caused DTI to further overstate its net income and
understate its net losses in various periods in its fiscal years 1999, 2000, 2001 and the
first three quarters of fiscal year 2002 financial statements The amounts of these
overstatements of net income and understatements of net losses are detailed in paragraph

42 above

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COUNT I

Violations of Section 10(b) of the EXchange Act [15 U.S.C. §78j(b)] and Rule

10b-5 [17 CFR 240.10b-5] Promulgated Thereunder

48. Plaintiff realleges paragraphs l through 47 and incorporates them by
reference as if set forth fully herein.

49. Defendants Rambahal, Kofton, J. Barry and Lesniewski knew or should
have known of the activities described in paragraph 48.

50. At various times between July 1996 and at least February 2002, as
specifically alleged in paragraphs 48 through 49 above, Rambahal, Kofton, J. Barry and
Lesniewski in connection with the purchase or sale of securities, directly or indirectly, by
the use of means and instrumentalities of interstate commerce, of the mails, or of the
facilities of a national securities exchange: employed devices, schemes or artifices to
defraud; made untrue statements of material fact or omitted to state material facts
necessary in order to make the statements made, in light of the circumstances under
which they were made, not misleading; or engaged in acts, practices or courses of
business which operated or would operate as a fraud or deceit upon purchasers or sellers
of securities

51. As a result of the activities described in paragraphs 48 through 50 above,
Defendants Rambahal, Kofton, J. Barry and Lesniewski violated Section 10(b) of the
EXchange Act [15 U.S.C. §78j(b)] and Rule 10b-5 [17 CFR 240.10b-5] promulgated

thereunder.
COUNT II

Violations of Section 13(b)(5) of the EXchange Act [15 U.S.C. 78m(b)(5)]
52. Plaintiff realleges paragraphs 1 through 47 and incorporates them by

reference as if set forth fully herein.

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53. At various times between July 1996 and at least February 2002, as
specifically alleged in paragraph 52 above, Rambahal, Kofton, J. Barry and Lesniewski
knowingly circumvented or knowingly failed to implement a system of internal
accounting controls and knowingly falsified books, records and accounts described in
Section l3(b)(2) ofthe EXchange Act [15 U.S.C. 78m(b)(2)].

54, As a result of the activities described in paragraphs 52 through 53 above,
Rambahal, Kofton, J. Barry and Lesniewski violated Section 13(b)(5) of the EXchange
Act [15 U.S.C. §78m(b)(5)].

COUNT III
Violations of EXchange Act Rule 13b2-1 [17 CFR 240.13b2-1]

55. Plaintiff realleges paragraphs 1 through 47 and incorporates them by
reference as if set forth fully herein.

56. At various times between July 1996 and at least February 2002, as
specifically alleged in paragraph 55 above, Rambahal, Kofton, J. Barry and Lesniewski,
directly and indirectly, falsified or caused to be falsified books, records and accounts
subject to Section 13(b)(2)(A) of the Exchange Act [15 U.S.C. §78m(b)(2)(A)].

57. As a result of the activities described in paragraphs 55 through 56 above,
Rambahal, Kofton, J. Barry and Lesniewski, violated Rule 13b2-1 [17 CFR 240.13b2-1]
promulgated under Section l3(b)(2) of the EXchange Act [15 U.S.C. 78m(b)(2)].

COUNT IV
Aiding and Abetting Violations of Section 13(a) of the EXchange Act [15 U.S.C.
§78m(a)] and Rules 12b-20, 13a-1 and 13a-13 [17 CFR. §§240.12b-20, 240.13a-1 and
240.13a-13] Promulgated Thereunder

5 8. Plaintiff realleges paragraphs 1 through 47 and incorporates them by

reference as if set forth fully herein.

59. The financial statements that DTI filed with the Commission in its Forms
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10-K and Forms 10-Q for fiscal years 1997 through the third quarter of fiscal year 2002
were not prepared in accordance with Generally Accepted Accounting Principles
(GAAP) and contained material misstatements

60. At various times between July 1996 and at least February 2002, as
specifically alleged in paragraphs 58 through 5 9, DTI, aided and abetted by Rambahal,
Kofton, J. Barry and Lesniewski, directly and indirectly, filed with the Commission
quarterly reports on Forms 10-Q and annual reports on Forms 10-K for fiscal years 1997
through the third quarter of fiscal year 2002 that were not in accordance with such rules
and regulations that the Commission has prescribed as necessary and appropriate in the
public interest and for the protection of investors and also failed to include in those
reports such further material information as Was necessary to make the required
statements, in light of the circumstances under which they were made, not misleading

61. Rambahal, Kofton, J. Barry and Lesniewski knowingly provided
substantial assistance to DTI in the activities alleged in paragraphs 58 through 60 above

62. By reason of the activities alleged in paragraphs 58 through 61 above, DTI
violated Section 13(a) of the Exchange Act [15 U.S.C. §78m(a)] and Rules 12b-20, 13a-1
and 13a-13 [17 CFR §§240.12b-20, 240.13a-1 and 240.13a-13] promulgated thereunder.

63. As a result of the activities alleged in paragraphs 58 through 62 above,
Rambahal, Kofton, J. Barry and Lesniewski aided and abetted DTI’s violations of Section
13(a) ofthe EXchange Act [15 U.S.C. §78m(a)] and Rules 12b-20, 13a-1, and 13a-13 [17
CFR §§240.12b-20, 240.13a-1 and 240.13a-13] promulgated thereunder.

COUNT V
Aiding and Abetting Violations of Section 13(b)(2)(A) of the EXchange Act [15
U.S.C. §78m(b)(2)(A)]
64. Plaintiff realleges paragraphs l through 47 and incorporates them by

reference as if set forth fully herein.
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65. At various times between July 1996 and at least February 2002, as
specifically alleged in paragraph 64, DTI, aided and abetted by Rambahal, Kofton, J.
Barry and Lesniewski, directly and indirectly, failed to make and keep books, records and
accounts, which iri reasonable detail accurately and fairly reflected the transactions and
dispositions of DTl’s assets

66. Rambahal, Kofton, J, Barry and Lesniewski knowingly provided
substantial assistance to DTI in the activities alleged in paragraphs 64 through 65 above

67. By reason of these activities described in paragraphs 64 through 66 above,
DTI violated Sections 13(b)(2)(A) of the Exchange Act [15 U.S.C. §78m(b)(2)(A)].

68. As a result of the activities described in paragraphs 64 through 67 above,
Rambahal, Kofton, J. Barry and Lesniewski aided and abetted DTI’s violations of Section
13(b)(2)(A) of the EXchange Act [15 U.S.C. §78m(b)(2)(A)].

COUNT VI
Aiding and Abetting Violations of Section 13(b)(2)(B) of the EXchange Act [15
U.S.C. §78m(b)(2)(B)]

69. Plaintiff realleges paragraphs 1 through 47 and incorporates them by
reference as if set forth fully herein.

70. At various times between July 1996 and at least February 2002, as
specifically alleged in paragraph 69, DTI, aided and abetted by Rambahal, Kofton, J.
Barry and Lesniewski, directly and indirectly, failed to devise and maintain a system of
adequate internal accounting controls sufficient to provide reasonable assurances that
transactions were recorded as necessary to permit preparation of financial statements in
conformity with Generally Accepted Accounting Principles (GAAP) or any other criteria
applicable to such statements

71. Rambahal, Kofton, J. Barry and Lesniewski knowingly provided

substantial assistance to DTI in the activities alleged in paragraphs 69 through 70 above
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72. By reason of these activities described in paragraphs 69 through 71 above,
DTI violated Section 13(b)(2)(B) of the Exchange Act [15 U.S.C. §78m(b)(2)(B)].

73. As a result of the activities described in paragraphs 69 through 72 above,
Rambahal, Kofton, J. Barry and Lesniewski aided and abetted DTI’s violations of Section
13(b)(2)(B) ofthe EXchange Act [15 U.S.C. §78m(b)(2)(B)].

RELIEF REQUESTED
WHEREFORE, the Commission respectfully requests that the Court:
I.

lssue findings of fact and conclusions of law that the Defendants committed the
violations charged and alleged herein.

II.

Issue an Order of Perrnanent lnjunction, in a form consistent with Rule 65(d) of
the Federal Rules of Civil Procedure, permanently retraining and enjoining Defendant
Rambahal, his officers, agents, servants, employees, attomeys, assigns and all persons in
active concert or participation with them who receive actual notice of the Order of
Perrnanent lnjunction, by personal service or otherwise, and each of them from, directly
or indirectly, engaging in the transactions, acts, practices and courses of business
described above, or in conduct of similar purport or object, in violation of Sections 10(b)
and 13(b)(5) ofthe EXchange Act [15 U.S.C. §§78j(b) and 78m(b)(5)] and Rules 10b-5
and 13b2-1 thereunder [17 CFR §§ 240.10b-5 and 240.13b2-1] and aiding and abetting
violations of Sections 13(a), 13(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C.
§§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, 13a-1 and 13a-13 [17
CFR §§240.12b-20, 240.13a-1 and 240.13a-13] thereunder.

III.
lssue an Order of Perrnanent lnjunction, in a form consistent with Rule 65(d) of

the F ederal Rules of Civil Procedure, permanently retraining and enjoining Defendant
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Kofton, his officers, agents, servants, employees, attomeys, assigns and all persons in
active concert or participation with them who receive actual notice of the Order of
Permanent lnjunction, by personal service or otherwise, and each of them from, directly
or indirectly, engaging in the transactions acts, practices and courses of business
described above, or in conduct of similar purport or obj ect, in violation of Sections 10(b)
and 13(b)(5) ofthe EXchange Act [15 U.S.C. §§78j(b) and 78m(b)(5)] and Rules 10b-5
and 13b2-1 thereunder [17 CFR §§ 240.10b-5 and 240.13b2-1] and aiding and abetting
violations of Sections 13(a), 13(b)(2)(A) and 13(b)(2)(B) of the EXchange Act [15 U.S.C.
§§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, 13a-1 and 13a-13 [17
CFR §§240.12b-20, 240.13a-l and 240.13a-13] thereunder.
IV.

lssue an Order of Permanent lnjunction, in a form consistent with Rule 65(d) of
the F ederal Rules of Civil Procedure, permanently retraining and enjoining Defendant J.
Barry, his officers, agents, servants, employees, attomeys, assigns and all persons in
active concert or participation with them who receive actual notice of the Order of
Permanent lnjunction, by personal service or otherwise, and each of them from, directly
or indirectly, engaging in the transactions acts, practices and courses of business
described above, or in conduct of similar purport or object, in violation of Sections 10(b)
and 13(b)(5) of the EXchange Act [15 U.S.C. §§78j(b) and 78m(b)(5)] and Rules 10b-5
and 13b2-l thereunder [17 CFR §§ 240.10b-5 and 240.13b2-1] and aiding and abetting
violations of Sections 13(a), 13(b)(2)(A) and 13(b)(2)(B) ofthe EXchange Act [15 U.S.C.
§§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, 13a-1 and 13a-13 [17
CFR §§240.12b-20, 240.13a-1 and 240.13a-13] thereunder.

V.
lssue an Order of Permanent lnjunction, in a form consistent with Rule 65(d) of

the Federal Rules of Civil Procedure, permanently retraining and enjoining Defendant
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Lesniewski, his officers, agents, servants, employees, attomeys, assigns and all persons in
active concert or participation with them who receive actual notice of the Order of
Permanent lnjunction, by personal service or otherwise, and each of them from, directly
or indirectly, engaging in the transactions, acts, practices and courses of business
described above, or in conduct of similar purport or obj ect, in violation of Sections 10(b)
and 13(b)(5) of the EXchange Act [15 U.S.C. §§78j(b) and 78m(b)(5)] and Rules 10b-5
and 13b2-1 thereunder [17 CFR §§ 240.10b-5 and 240.13b2-1] and aiding and abetting
violations of Sections 13(a), 13(b)(2)(A) and 13(b)(2)(B) of the EXchange Act [15 U.S.C.
§§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, 13a-1 and 13a-13 [17
CFR §§240.12b-20, 240.13a-1 and 240.13a-13] thereunder.
VI.

lssue an Order requiring Rambahal to pay disgorgement of $12,000, plus
prejudgment interest, related to his fiscal years 1997, 1998 and 1999 DTI performance-
based bonuses

VII.

lssue an Order requiring Kofton to pay disgorgement of $9,600, plus prejudgment

interest, related to his fiscal year 2000 DTI performance-based bonus
VIII.

lssue an Order requiring Lesniewski to pay disgorgement of .‘1§45 ,800 plus
prejudgment interest, related to his fiscal year 2000 and 2001 DTI performance-based
bonuses

IX.

lssue an Order imposing appropriate civil penalties upon Defendants Kofton, J.
Barry and Lesniewski pursuant to Sectioii 21(d)(3) of the EXchange Act [15 U.S.C.
§78u(d)(3)].

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X.

Retain jurisdiction of this action in accordance with the principles of equity and
the F ederal Rules of Civil Procedure in order to implement and carry out the terms of all
orders and decrees that may be entered or to entertain any suitable application or motion
for additional relief within the jurisdiction of this Court.

XI.
Grant Orders for such further relief as the Court may deem appropriate

Respectfully submitted,

Steven L. Klawans

One of the Attomeys for Plaintiff
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Dated: filif:&\'\_g_____, 2004

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